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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

  THE TRANSPARENCY PROJECT,           §
                                      §
                Plaintiff,            §              CIVIL ACTION No. 4:20CV467
                                      §
  v.                                  §
                                      §
  U.S. DEPARTMENT OF JUSTICE, et al., §              JUDGE SEAN D. JORDAN
                                      §
                Defendants.           §

                UNOPPOSED MOTION FOR EXTENSION OF TIME

        NOW COMES the Plaintiff, moving the Court to grant an extension of time to

 respond to the Non-FBI Defendants’ Motion for Summary Judgment (Doc. No. 51) filed

 on February 22, 2022. Plaintiff’s Counsel is running behind schedule because of a health

 problem, therefore the Plaintiff requests an extension of the response deadline from

 March 15, 2022 until April 5, 2022, further requesting that the deadline for any cross-

 motion likewise be extended until April 5, 2022. Finally, the Plaintiff requests a

 commensurate three-week extension of all subsequent deadlines. Plaintiff’s Counsel has

 conferred with Defendants’ Counsel, and the Defendants do not oppose this request.

                                           Respectfully submitted,

                                           /s/ Ty Clevenger
                                           TY CLEVENGER
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                                Certificate of Conference

       I certify that I conferred via email on March 10, 2022 with Asst. U.S. Attorney
 Andrea Parker, Counsel for the Defendants, and she indicated that the Defendants do not
 oppose this motion.

                                         /s/ Ty Clevenger
                                         TY CLEVENGER



                                  Certificate of Service

       I certify that a copy of this document was filed with the Court’s ECF system on
 March 10, 2022, which should result in automatic service upon Asst. U.S. Attorney
 Andrea Parker, Counsel for the Defendants, at andrea.parker@usdoj.gov.

                                         /s/ Ty Clevenger
                                         TY CLEVENGER




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